Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 1 of 38 Page ID #:9




                  Exhibit “A”
                  Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 2 of 38 Page ID #:10
Electronically FILED by Superior Court of California, County of Los Angeles oni201~8
                                                                                05/2IIt5
                                                                                     03_ PM3ShErri R
                                                                                                   R. C.rter, Executive OfficerlClerk of Court, by D. Williams,Deputy Clerk


                                                                                                                                                                    S
                                                            SUMM®NS                                                                         FOR COURT USE ONLY
                                                                                                                      ~                (SOLO PARA USO DE LACORTE)
                                                       (ClT'ACiOl1! JUDICIAL)
             NOTICE TO DEFENDAFtT:
             (A111SOAL DEfIlIAPdDADO):
              DOLLAR TREE STORES, INC.; and Does 1 to 100, inclusive.

             YOU ARE BE![dG SUED BY PLAiiVTfFF:
             (LO ESTR DEmANDAtvDO EL DEMAMDANTE):
              SILVANO CABRAL ESCOBEDO

               NOTICE! You have been sued. The court may decide againstyou without your being heard unless you respond wit'run 30 days. Read the informa;ion
               belov.r.
                  You have 30 CALENrJAR DAYS afier this summons and legal papers are served on you to file a written response at this court and have a copy
               served on the plaintiff. A letter or phone call will.not protect you. Your written response musf be in proper IeGal form if you want the court to hear your
               case. There may be a court form that you cah.use foryour response. You can find these courtfiorms and more information at ttte Gaiifornia Courts
               Online Self-Help Center (www.c.ourtinfo,ca.gov/self'nelp), your county iaw library, or the courthouse nearest you. If you cannot pay the 51ing f"ee, ask
               the court clerk for a fee waiver forrn. If you do not file your response on tirne, you may lose the case by defautt, and your wages, money, and property
               may be taken without furtherwaming from the court.
                  Thee are oiher legal requirements. You may want to call an attomey right away. If you do not know an at4orney; you may want to cali an attorney
               referral service. !f you cannot afford an attorney, you may be eligibre for free legal services from a nonprofrt fega! services prograrn_ You can locate
              these nonproflt groups at the California Legat Services 1Neb site (.✓wW.law•heJpcalifon7ia.org), the Califorrria Courts Online Self-Help Center
              (vAvw.courtinfo.ca.gov/selthelpl, or by contacting your local court or county bar association. MOTE: The court has a statutory I!en for waived fees and
              costs on any settlement or arbi'ration award of $10,000 ar more in a civil case. T7e court's lien musi be paid before tfie court will d'+smiss the case.
              iAiltSO! Lo han demandado: SI no responde dentro de 30 dias, la corte puede decidir en su contra sin ascuchar su vers:bn. Lea la informacitin a
              continuacibn.
                 Tlene 30 DIAS aE CALENDARIO despues de que le entreguer, esta citacibn y papeles legales para presentar una.respuesta por escrlto en esta
              corte y hacer que se entregue una copla al demandar,te. Una carta o una Ilamada telefon(ca no lo protegen, .5u respuesta por escrito tiene que estar
              err formato legal corrscto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
              Puede encar,trar estos fbrmuiarios de la carte y mas itttormar.ibn en el Centro de Ayuda de las Corfes de, Callfornia (w.sucorte.ca.gov),
                                                                                                                                           w,v                 en la
              biblioteca de leyes de su oondado o en la corte que Je quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
              que Ie de un tormuiario de exenciBn de pago de cuotas. S1 no presenta su respuesta a iiempo, puede perderei caso.porinaumplimientv y la corte le
              podra quitar su sueldo, dinero y bienes s,•'n mas adverfencia.
                 Nay otros requis,Yos legales.. Es recomendable que llame a un abogado inmediatamente: Si no conoce a un abogado, puede llamar a un servicio de
              remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpia oon los ,equisitos para obterer serviclos 7egales gratuitos de un
              programa de aervicios legales sin fires de Jzicra. Puede encortrar estos grupos sin fines de lucro en' et sitio iveb de California Legal Services,
              (wwmr.lawheipcalifornie.ors), en el Centrc de Ayuda de /as Cortes de Californra, (wvnN.sucorte.ca,gov) o poniendose en contacto con ta corte o el
              colegio de abogados locales. AVISO: Por ley, la corte tier,e derecho a reclamar las cuotas y !os cosfos exentos porimponer un gravamen sobre
              cualquier recuperacidn de $110,000 6 m.as de valor recibida medfante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiere que
              pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
             The name and address of the court is:                                                                        I CAsE Nu+aaER:

             (Elnombre ydirecci6n de              1a corte es):   Los Angeies Count_y Sirperior Court                     ("'~°~L';~ ~~/ 1 ~;~2 ~
              111 N, 1-li(1 Stfeet                                                                                                                               —
             Los Angeies, CA 90012
             The name, address, and telephone number of plaintiffs attorney, or p!aintiff without an attorney, is:
             (EI nombre, la direccl6n y el numero de telefono del abogado del demandante, o det derrrandante que no fiene aboga(Jo, es):
             Law C}ffices or Gary Eierkovicli, APC; 14900 Veiltura Blvd., Ste. 220, Shermari Oaks; CA 91403, (81$) 465-9505

             DATE:                                                                          C1erk, tPyherri R. Catter Executive OtTicer t Cletk crfi Courl Deputy
             (Fecha) Cl ~~f 281.2 019                                                       (Secretario) D-aU~4ag },laaalliarrc~                                  _ (Adjunto)
            (For proof of servjce of this surrfmons, use Proof of service cf, Summons (forria POS-010);)
            (Para prueba de entrega de esta citati6n use el formulano Proof of Service of Summons, (POS-010)).
                                                NOTfCE TO THEPERSON SERVED, You are served
                                                1,      as an individuai defendant.
                                                2.      as the person sued under the fctitious name of (specify):
                  g Na•'~•;.~:~,~         1.s
                                   '- ~ . . ,✓
                      .. e b   .t i,"'

                                                3. C on behalf of (specify):
                       •~                ~+'~~,' ~,.
                              ,                             under:       CCP 416,10 (corporation)             0 CCP 416.60 (minor)
                                                                     C CCP 416.20 (defunct corporation)            CCP 416.70 (conserlatee)
                                                                     U CCP 416.40 (association or pertnership) 0 CCP 416,90 (authorized person)
                             a=
                                                                  (~ other (speciFy):
                                                         4. = by personaf delivery on (date):

             Farm Aoopted fur Mandatory Use                                         SUMMONS.                                                    Code or CMl Pmcedure §$ 41210,465
               ,hidical CounNr or Cafifornia                                                                                                                   wwaLcdur„nfo,ca.gOv
               SUM•100 1Rev, July i: 20091                                                                                                                ~'---~
                                                                                                                                                          Americu~ Lega3Net, Inc_
                                                                                                                                                          l wuw.FormsWoc~owcoml
                      Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 3 of 38 Page ID #:11
Electronically FILED by Superior Court of California, County of Los Angeles on 05128i2019 03:15 PM Sherri R. Carter, Executive Officer;Clerk of Court, by D. Williams,Deputy Clerk
                                                                                             19STCV18326
                                                                                                                   ~
                                                    Assigned for ail purposes to: Spring Street Courthouse, Judicial Officer: Jon Takasugi


                    ATTORNBY OR PARTY VOTHOUT ATTORNEY ,Name, Sfele Dar r,umber, and address;:                                                     FOR COURT USf ONLY
                       GARY BERI,'.OVICH (SF3N 192731)
                       LAW OFFICES OF Gr?,RY BERKOVtC1-1, APC
                       14900 Ventura Blvd., Suite 220
                       Sherman Oaks, California 91403
                           TEi.EPNONE N.O; (8 1 8) 465-g5.O5 FAX vo. lontrw,arJ: (g 18) 35 8-2829
                    E-MA(L ADDRESS jDpilonai):                                                                                  (
                       ATTORNEYFCiRMarne): L iallltllf.          S1LVA'NT0 CABRAL .ESCOBEDO
             ( SUPERtOR COURT OF CALIFORNIA, COUNTY OF LOS AI`GELES
             t               STREETAODRESS:. 1 .t 1 N .        .Hill Street
             i
             ~              MAILING A.00RESS: 1I A N. 7=jill.       5tt'eet
                           CITYAUDZIP-c.ODE: Los Allgeles. CC1 900.12                                                           E
              j                 ©RANCHNAME: Centrai,District-Stanley Mosk Coiirtliouse                                         }i
                                 PLi'UNTiFF: SILVANO CABR.kL ESCOBEDO

                              DEFENDANT: Dt?LLAR TREE STORES,:INC.; and

                   EZ] DOES.1 TO 100                            it]ClUSIve.
                   COIyIPLAlNT—Personal Injury., Property Damage, Wrongful Death
                      0 .AMENDED (Number):
                  Type'{chech.a/t fhat apply):
                  ~ NiOTOR VEHiCLE 0 OTHER (specify): Premises Liat?ility, 'Negligence
                       [,J Property Damage Cj Wrongful Death
                       [~✓ Persona[ injury             Other Damages (specify):
                  Jurisdiction {check all that apply):                                                                              CASE.NUMBER:
                  ~ ACTiON tS A LIMiTED CIViL CASE
                        Amount demanded 0 does not exceed $10,000
                                              C] exceeds $10,000, but does not exceed $25,000
                  0 ACTION iS AN UNLIMITED CIVtL CASE (exceeds $26,000)
                  C ACTtON 1S RECt,ASSIFIED by this amended compfaint
                       0 from timited to un(imited
                       ~ from unlimited to limited
             1. Piaintiff (name ornames): Sjj,VANO CABRAL ESCOBEDO
                al(eges causes of action against defendant_(name ornames):
                DOLL.ARTREE STURES,INC.: vid DOES l TO 100 inclttsive.
             2: This pleading, ihcluding attachments and exhibits,.consists of the.fol(owing number of pages: 5
             3. Each plaintiff named above is a competent aduit
                a. 0 except plaintiff (name):
                           (1)      a corporation qualified to do business in California
                           (2)      an unincorporated entity (describe):
                           (3)      a pubiic entity (describe):
                           (4) C] a minor = an adult
                                    (a)       for whom a guardian or conservator of the estate or a guardian ad titem has been appoir,ted
                                    (b)       other (specify):
                           (5)      other (specify):
                     b. =, except plaintiff (name):
                             (1)     a corporation.qualified to do business in Califomia
                             (2)     an unincorporated entity (describe):
                             (3)     a public entity (describe):
                             (4)     a minor 0 an adult
                                     (a) 0 for whom a guardian or conservator of the.estate or a guardian ad titem has been appointed
                                     (b)       other (specify):
                             (5)     other (specify):

                    O information about additionaf plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                                Page 1 of 3
                  Form i.pprcvad Pcr Cptional Use                           COMP.LAtNT—Personal lnjury, Property                                         Code c' Civil Procedure, § 425.12
               Judicaal' Coundl of Califcrnia                                                                                                                         w ww.ccurtfnlo. ca.gcv
             PLR-PI -001 IRev..January 1, 2007]                                  Darnage, Wrongful Death
                                                                                                                                                                Arnerican LegelNet, Inc.
                                                                                                                                                               ~ ayw.a. Forms Workficw. corn
      Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 4 of 38 Page ID #:12



                                                                                                                                    PLa-Pi-001
     SHt?RT TiTLE:                                                                                  i cAsE rdunnst:R:
     ESCOBEL70 v. I3C?LLAR TRk;E S I'OR.ES INC;.,                                                   ~

4. = PlaintifP (rame):
        is doing bus€ness under the fictitious name (speciry);

           and has coinpiied with the fictitious business name €aws:
      Each defendant named above is a natural person
          71 except defendant (r,ame): Dt7L.LAR TREESTC?ItF5,1PdC.. c. = except defendant (rame):
      a. F-
              (1) [_] a business organizat€on, form unknown            ('t)      a business organization, form unknown
              (2) CJ✓ a corporation                                    (2) Q a corporation
              (3)       an un,incorporated entity (descrfbe):          (3)       an unincorporated entity (describe):

                   (4) = a pub€icentity (o'escribe):                                   (4) = a public entity (describe);

                   (5) = other (speci(y):                                              (5) = other (speci!y):



      b. = except defendant (rame):                                           d. =;except defendant (name):
             ('f)    a business organization, form unknow^                         (1)      a business organizatior., form unknewn
             (2)     a corporation                                                          a corporation
             (3)     an unincorporated entity (descr,ibe):                         (3)      an unincorporated entity (describe):

                   (4) = a pub€ic entity (describe):                                   (4) = a public entity (describe):

                   (5), = other (specify):                                             (5) Q other (specify):


      ~J €nformation about additiona€ defendants who are not natura€. persons €s contained in Attachment 5,
6,      The true names of defendants sued as Does are unknown to piaintiff.
        a.        Doe defendants (speeify Goe rumbars): l µ 100, INC;LL S I VE                  were the agents or emp€oyees of other
                      named defiendants and acted.within the scope of tliat agency or emp€oyment.
        b.            Doe defendants (specifyC,oe numbers): 1-I OU, Il`ICL[1SIVE_             _ are persons whose capacities are unr<nown to
                      plaintiff.
7.     C Defendants who arejoined under Code of Civi€ Procedure section 382 are (names):



B.      This pourt is the. proper court because
        a.            at €east one.defendant now res€des in its jurisdictiona€ area.
        b.       the. principa€ pface of business of a defendant corporat€on oi unincorporated association is in its. jurisdictional area,
        c. 0 injs;ry to. person or damage to personaE property occurred in its jurisdictiona€ area.
        d. = other (speclfy):




g,     = Plair:tiff is required to compiy with a c€aims statute, and
       a.         has. comp€ied with app€icab€e claims statutes, or
        b,            is excused from comp€ying because (specify):




RLO-Pl-OoS (Rzv. Jarnlary 7., 2007;   ~              COMPLA3NT'—Personal In}U ry,_
                                                                               . Property                                               Page 2 pr 3
                                                          Damage, Wrongfui Death
          Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 5 of 38 Page ID #:13


                                                                                                                                             PLD-PI-001
      SHORT TITLE:                                                                                     ~ cAsE INIuraeeR:

       ESCOBED(O v. DOLL.AR TREE STOgES INC.,..

     10. The.fo!lowing causes of action are attached, and the statements above apply to each (each compFaint; must have one or more
            causes of action attac/red).'
            a. = Motor Vehicle
            b. 0 Generai Negligence
            c.      !ntentional Tort
            d. CI Products Liabillty
            e. Q Premises Liability
            f. = Other (specify):




     11. Plaintiff has suffered
            a.          wage.loss
            b,      loss cf use of property.
            c.      hospital and medical expenses
            d,      g.eneral damage•
            e.      property damage
            f: 0 loss.of eaming capacity
            g_      other damage (specify):

                        ,Tncidental.



     12.,. = The damages claimed for wrorigful death and the relationships cf plaintiffto the deceased are
            a. = listed;n Attachment 12.
k           b: = as fo!lows:




     13. The relief sought in this complaint.is within the jurisdiction of this court



     14. Piaintiff prays forjudgment for costs of suit; for such relief as is fair, just, and eguitable;.arid for
            a. (1)         compensatory damages
                (2) = punitive damages
                The amount of darnages is (in cases for personat injury or wrongful death,..you rriusf check;(i)):'
                (:1) = according to proof
                (2} = ,in the amount of: $
     15: = The paragraphs of this comp!eint. a!leged on ihformation and beiief are as fol(ows (specify paragraph numbers):




     Date; May 26.;;2Q19                                                                                         '

                               Ga,ry Berkovicli
s.
,                                  (TYPE CR PRINT lUAhtE):                                     .- .(SIGNATURE OF t?Lh1NTIFF oR ATTOftNEY "

     Pio-PI.ao,,(aeV. +e6uarrl.20071                         COMPLAINT—Personal injury, Property                                                 Fas~3af3
                                                                  Damage, Wrongful Death
         Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 6 of 38 Page ID #:14




       SHORT TITLE:                                                                                          cASE NuM°1=`3,

       ESCOBEDO v. D{)LLAR TR.EE STORES, INC;.

               FIRST                              _,,,._ CoAIJSE OF 14CTIOIV---Prertiises Liabil1ty                                   Page            4 -.._
                               (number)
               ATTAGHN€ENT TO EZI Compiaint                        Cross - Complaint
               (ilse a separate cause of acfion forna for each cause of action.)
               Prern.L-t. P€aintiff (name): SILVAI<O CAI3RAL ESCOBEDC}
                                 a€€eges the acts of defendants were the €egal (proximate) cause of damages to p€aintifF
                                 On (date): 05,J29J201 7                            plaint€ff was injured on the following premises-in the foilowing
                                 fashion (description af prernlses and crrcumstances of rnjury):
                                 At said time and place, the Defendants and each of diem, iiegiigently and carelessly maintained, controlted, inspected,
                                 operated, managed, cleaned, and reraired their prelxaises, locater~ at 20936 Roscoe Slvd-, Canoga Park, Californi& 91304,so
                                 as to maintain. a dirty and slippery floor area on the premises and thereby created a dangerous condition on their pre>nises.
                                 Plaintifi; a cusiomer at Dc;fendaots' preiniscs, slipped and felI on said dangerous condition, severely injuring himself,.

                                 Defendauts and each of thern, knew, or in the exen;ise of reasonahle care, should hav e known of the dangerqus condition
                                 on their premises. Said danL?erous condition and Defendants' negligence were the proximate c•auses of I'laintifi's injuries
                                 and damages complained of he.rein.

              Prem.L-Z.                     Count One—htegligence The cietendants who negiigent€y owned, maintained, managed and
~                                           operated the described prernises were (names):
;                                           DOLLAR TREE STC►RI: S, fNC.; and

                                            =1 Does I                      to 100 iz}clusive.
              Prem.L-3.                     Count Two—Wiltful Failure to Warn (Civil Code section 846) The defendant owners who,willfully
                                            or malicious€y fa'sled to guard or warn against a dangerous conditton, use, structure, or activity were
                                            (names):



                                            0 Does                         to
                                            P€aintiff, a recreationa€ user, was = an inviiad g;iest 0 a paying guest.
              Prem.L-G.                     CountThree—Dangerous Cond"ition of F'ublic Property The defendants who owned pub€ic property
                                            on wtiich a dangErous condition existed were (names):



                                                    0 Does                       to

                                            a-
                                         The.defendantpublic entity had = actuat = constructive notice;ofthe existence of the
                                         dangerous condition in sufficient time prior to, the injury to have corrected it
                                b•       The cond=.'tion was created by emp€oyees of khe defendant pub€ic entity.
              Prern.L-5. a. L✓I Allegatians about Otther [3efendants The defendants who wes•e the agents and,emp€oyees ot the
                                other defendants and acted within the scope of the agency were (iames);
                                            I?OIILAR T.REE STORI_:S, INC.; and

                                            FZ~ Does 1                     to 100 inclusiye.
                               b. = The defendants who are €'iab€e to plaintiffs for other reasons and the reasons for their liabi€ity are
                                        ~ described in attachment Prem.L-5:b 0 as foilows (names):



                                                                                                                                                        Paaa a or z
      FarmApprovedforOpiiona,use                        OAl1SE OFAGTIO.F~—Premises Lial.iility                                       CccseofCtvilPrxedu-o,§a25.12
       Judicial Counc:l of Cafifornia                                                                                                          www.ereMinio.ca,gcv
    Pi_D-Pi-OC1(4} (Rev. January 1, 2007)
    Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 7 of 38 Page ID #:15


                                                                                                                           PLD-PI-O(YB (2
    SHORT TITLE:                                                                             eqse n;uMeER:`

    ESCOBEDO v. DOLLAR TREE STC7RES, NC.,


        S>=,c.OND                -=---    CAUSE OF ACTlON--Generat NL-gtigenee Page                                                   s
                   (number)
        ATTAGHfviENT TO ~~ CQrnplaint = Cross - Complaint
        (Use a separafe cause af action form for each cause of action.)

        GN-1. .P..laintiff.(name): S.11.VAN0 CABItAL ESCO13ED0

               °aileges that detendant (riame): DOLLAI2..TKEE STORES, INC.; antl
~


                        O Goes 1                        to 100 inclusive.

               was the fegal (proximate) cause of damages to plalntifF: By the foliovring acts or opiissions_te acti,defendant
               negligently caused the damage "to piaintiff
               on ((tate): 05I29I207 7
               at (ptace): 20936: R(7SCCO.E 13r,VD., CANOGA PATZK,, CA 91304
               (descripfion ofreasons for Iiahit;fy):
                At sazd time and place, the Defendants and each of them, negligently and carelessly maintained,
                conti-ol{ed, inspected, operated, inaziaged, cleaned: and repaifed their premis~s,. tticated at 20936
                Roscoe Blv.d.; Canoga Park, California 91304 so as to maintain a dircy and slippery floor area on
                tlte, premises an;d theretiy created a dangerous condition-,on their, pr~>nises 1 Pl'aintiff; a,eusto7ner at
                I~efendants' premises, slipped and felf on said dangero.ras con<fition,.:severely°injuring himself:

                Defendants and .each of them, knew, or in the exzrcise of reasonable.care, should have Icnown of
                the dangcriius conditiori on their premises. Said dangerous condition and llefendaiits` negligence
                Were the prdximate causes ofPlair►tiffs injur.ies,;and darziages.:Wplaiiied of lierein.




                                                                                                                           ;i~fGRroce~ure 425_'12
                                         CApSE OF AGT90N=--t'
                                                       . .
                                                           seneral,~'eg(igence
                                                               . .



                                                           •                  ~.   ~   '   " •' . ~   ,~ . , ~.~ 11,'. .
                            Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 8 of 38 Page ID #:16
       Electronically FILED by Superior Court of California, County of Los Angeles on 05;28i20~,%8TM19,,ftrri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk


                          ATTORVEYOR PI:RTYV:ITHOVTATTORNEYjNa'ne,5ta.e9arnumcer,arndaddms8,l~                                                                 FORCOURTUSE ONLY
                         - GARY BERKOVIC.H (SBN 1921-31)
                            I.A\~1',OFFJcES .OF GARY BERKO~~IOH, APC
                           14900 Yentura:Blvd., Suite 220
                           5lierman Oaks, California 91403
                                TELEP}10NE.N0.. ~($1$)465'95.05                            FA.xNo.: ($j,~).3SH-2$29
                          ATTORNEr FOR rN
                                       ~ ne): Plaintiff. S11..1'At~tO C'i1BRi1L ESCOBEDO
                         SUPERIORCOURTOFCALIFORPaIA,COUNTY.OF LL1~ 1iVl7J LC7                                                            I
                    ~I       STZEETADDRESS: I 1 l NHllj StrBet
                            'WAILtNGADDRE8S= 11.1 N...Hlll Street,
                    ~        crryar,e zIP ciJDe: Los Angeles, CA 90012
                                ;; P,r~,.N NaU,:. Centxal District-Stanley Mosk Courthouse
                          CASE NAME:                                                                                                     '
                          SI"LVA)tiI0 CABIZAL ESCOBEDO v. DOLLAEt'P_REE STO.RES, I.NC.
                            Ci~lEL CASE OC}VER 5F4EE~'                                        Comp{ex Case Designation                       cAs> Nt
                         ® linlimited         Limited                                                                                    f
                             (Amount          (Aniount                                    ~ Counter L~ loinder
                                                                                                                                1D
                               demanded                        demanded is                Filed with first apoearance by defendant r
                               exceeds $25,000)                $25,f10fl or less)            (Cal. Rules of Court, ruEe 3:402)
                                                                    lrems ?-o neiov✓ mfrsc oe compretecr (see ;nsrrucrions on page z).
                    i9. Check one box below for the case type that best describes this case:                                                                                                  ~          ?
                           Auto Tort                                                Cont
                                                                                      — ract                               Provisionatiy Complex Civii Litigation
                                                                                    r   ~
                           ~ Auto (22'y                                             I~t Breach of contractlwarranty (06) (Cal. Rules of Court, rtiles 3:400-3.403)
                           ~ Uninsured rnotorist (46)                               CI Coilections (09)                               Antitrust7rade regulation (03)
                           Other Pl1PDlWD (Pers.onalinjurylProperfy.                      Irisurance caverage                         Consiruction defect ('(0)
                           DamagertfVrongful Death} Tort                            0 Other contract (37)                        ~ h+fass tort (40)
                                                                                                                                 ~~1
                           ~ Asbestas .(04)                                         Reat Property:                               L~ :Securities litigation (28)
                    t,
                           ~ Product,tfabifity (24e                                 [~ Eminent domair~itnverse                   = ;EnviranmentahToxic tort (3d)..
                           0 Medical'malpractice(45) '                                       condemnation O
                                                                                                          1.4                                                                                                  ~
                                                                                                                                 O, 'Insurance eoreraoe ctaims artsing fram the-
                            or Other PilPD/vUD (23)                          Wrangfuf evit tion {33j                                    abotie l:sted provisianally complex case
                                                                                                                                      .tYpes t41)
                           tJon-PllPD/VYa {Other) Tort                  ~ Other r,eai properiy {26)
                                                                                                                                 Enforcement;o# Judgment
                           = Dusiness torUunfair business Practice (a7) Unlawfuf Detainer                                             t
                                                                                                                                             Enfarcenientot judgment (20)
                           = Civil rights (08)                                      ~ Commerciat(39 )
                                                                                                                                 Miscelianeous CivO Complaint
                           0 Defamation {1.3}                                                Resid.entia! (32)
                                Fraud (16)
                                                                                                                                 = RICO (27)
                                                                                             Drugs (38)
                                                                                                                                 ~ Other Gotnolaiiit (not`speclfied above).•(42)
I~                         0 inteilectua', property !i?i)                           Judicia! Revievt
                                                                                                                                 ~p;scel3aneous Civii Petition
                                Professiqnat negligeriue.(25}"                      ~ Asset forfeiture (05)
                                                                                                                                 =`Partnersliip and corporate governance, (21)
                           U Other.noii P,IFDl~lJD to l43   . 5}                    L~ Fetitionre: arbitration award (1•1}
                            Emp.to.ymerrt,                                                                                       ~ Other petifion,(+rot specifecl.aboYej {43)
                                                                                    ~ VVrit of mandate (02)
                           ~ Wrongful ierntJnation (36)                             I—r Otherludicial revies.v (39)                                                                                            ~
                           ~j Other emplaymerri (15)

                    2. This case [-] is ~ is nat cornpiex under rule 3:4'~O of the C.atlfosnia'Ruies,of Ceurt,"if;the case is carnplex, marx the
                       factors requirirag exceptional judicial managerrtent:
                       a. 0 Large number of separatety represented parties d.                   Large number of witnesses
                       .b, F- 1 Extensive  motion   practfce raising difficuit or novel e. u    Coordinat;on  with related acjons. pending in ohe or more courts
                                 issues that will be time-consuming to resolve                  in other counties, states, or countries, or in.a federa) couit
                       C. 0 Siibstantial amount of documentary evicience                f, O Substantial postjudgment judiciai.,supervision
                    3, Type of remedies sought (check all fhat apply):
                                (~ monetary b: = nonmonetary; deciaratory or ihjunctive relief
                            a. ._                                                                                         nc.. C. pPinitive "
                    4. Number. of causes of action (sp.eciTy): 2
                    5_. This case        is E*'—~ is not a class action suit.
                    o. if thzre are any known related cases, file and serve a notice of related :case. {You ma                               e,fo            Di )
                    Date: _iVlay 26, 2019  9
                                                Gar y~ Berktavich
                                                        ITJDCttD.Q3AITD.idlnCl~       -                                      1S+F_.At TI.'R-(lG. v TVlt 'aTYYtI>61L~'/.CP.0 .OYv1'



                         • 1'12iintiff ri-aust filb. this cover"sheet with the first paper filed in the action or proceeding (excep+°smali claims cases~.'or'cases fied
                           under the Probate Code, Faniily Code, or Welfare and lnstitutions. Code). (Cal. Rules of Court,;r_ule.3.220-) :Failure to.;fie may resu3t
                            in sanctions:
fu%r                     q File this cr.rver sheet in addition to any cover sheet required by local court rule.
 =_t                     •!f th, is case is compiex under ruie 3.400 .et seq. of the California Rules of Court, you must serve,a copy of this cover .s.heet on alt
                           ,ather,partie's to the`actioti or proceeding;
                         C Unless this is a complex case, 'this cover sheet will be, used for statistical purposes orily.                                     Page 4 of"2.
                   `ro mAdopted for Marldatory Js+3                                 CIVIL C,l4:SE CQVER SHEET                                                ca1.: Rules ot C;h,rt, rules3 220• 3 4C0=3.403;
                        un'elal Counal of C311!orrua                                   ~                                          r,rmrican ~ageiNe„ foc.        ~standnrd of .iuA,Gai Admialstr tion, § 19
                   ',Btvl-010. tRe} January..1, 20071                                                                             wwev.Eorrrckor,c ✓ow.com                            wtxs ~vf,rnnracagov
         Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 9 of 38 Page ID #:17


                                                                                                                                                          cM-01 o
                                          1NSTRUCTIONS ON 9-10W TO COMPLETE. TFiS CO~El~ .SFIEET
    Ta P{aintiffs and..Others Filing First Papers
    If you are.fi)ing a first p.aper (for example, a:compiaint) in a civil case; you must complete;and fiie, a!ong with your first paper, the Civi1
    Case Cover Sheet contained on page 9.. This information witl be usetl to compile statistics about the types an'd numbers of cases filed.
    You must complete items 1 through 5. on the.sheet. fn item 1, you must check nne:box for the case;tkpe that best.describes the case.
    If the case fits both a generai and a more specific type of case listed in item 1, check the more spec'itfe one_ 1f the case has multiple
    causes of action, check:the box that bess.indicates;the prirnary cause of action. To>assist you in co[ripleting ttie sheet,;examptes of
    the:cases that:belong under each Gase type in itEm 1?re provided beiow. A cover sheet mus.t be fiied: only: wifh your inifal paper. You
    do not need.to submit a cover sheet with. amended papers. Failure.to file.a cover sheet with. the first paper fled in,a.Givii case may
    subject a party,:its counsel, or bot't to sanctions under' rn.jies 2.30 an.d 3.220 of the:.C,aiifornia,Raaies ot Court..
    To Parties. i.n Com ptex Cases
    fn campiex cases.only:, parties must also. use the Civii Case Gover Sheef to designate whether the:case::is cornplex. If a plaintiff
    believes the case is complex un'der rule 3.400;pf the CaBfornia Rufes of Court, this must be indicated by completing"the appropriate
    boxes, in items i` and 2. If a plain6ff designates a case as complex, the cover sheet rnust.b.e Served Vsrith the complaint on ail parties to
    the action. A defendant may;fiie and serve no fater,than the time cf its first appearance a}oinder inthe piaintiffs:designation, a
    counter-des.ignation #hat the case is not complex„or, if.the piaintiff has made no: designation;:a designation that.the case, is complex.
                                                                 CASE TYPES AND EX4MPLES
    Auta l"ort                                               Contract                                            i?rovisiona.11y Comptex Civil Litigation
         Auto (22j—Persona;.InjuryiProperty                     8reach of ContractNVarranty (06).                (Cai. Rutes°of Court Rules 3.400--3.403)
          Damage/tNrongfui Death                                     8reach of RentailLease                            AntitrustiTrade Regu(ation (03)
                                                                         Gontract (not unlawful detainer                 Giinstruction Defect (30)
          Uninsured fvlotorist (46) (iffhe                                   or wrongful evicticn)
             case involves an cinJnsurec'                                                                                Giairn8 Involving Mass Tort (40)
                                                                     ContractNUar ranty Breach-Sefler                    Securities L.itigation (28.)
                motoristclaim subjectto                                  Plaintiff (ncitfraud:orne,qtigence)
                arbitration; check ffhis item                                                                            Environmental/Toxfc Tort (30)
                                                                     Neo6gent Breach of Gontractl                        tnsurance Coverage Claims
                instead o: Aufo}                                        Warranty
                                                                                                                            (ars;ng f.rom prtivislona/ly
                                                                     Other t;reach of ContractMlarranty                     coinplex case type tisted ab.ove}
    Other PIlPD/VYD.(i'ersonal injuryl                           Gallections ;e.g., rnoney owed, open
    Property Damage74Nron6fut Deafh).                               book accounts) (09)                                     S~1)'
    Torti                                                           Goilectioti Case=Sefler Piaintiff
          Asbestos (04)                                             Other Promissory Note/Coilections             EnPorceii7ent of Judg .ment
               Asbestos Property Damage                                Gase                                              Enforcelment of;Judgrnent (20)
                Asbestos Pers.onal lrijuryi                     fnsurance Coverage (notprovisionaty                         Abstract of.Jucigrnent (Out of..
                      Wtongful Death                                 complex) (18)                                             C.ounty) t
          Product Liabi?ity (not asbestos cr                         Auto Subrogation                                         Confessior, ol.JurJgment.(non-
             tox.iclenvironmental) (24)                              Other Coveraoe                                                dorn6s"ic relatioris)' '
          Medical Malpfactice (45)                               Cither Contract 1,37)                               `        Sister.State.Judgme,~it,
                                                                                                                           I.:Adniinist;rat ive Agency Award
                                                                     Contractua! Fraud
                     Physicians &. Surgecns                                                                                       (r?ot cinpaid taxes)
                                                                   C)ther Contract Dispute                                    P,etit[on/Certification of Entry o€
                Otiiet Pro.fessiorai; Heaith Care
                                                             Real Property                                                      Judgment,on Unpaid Taxes.
          Other PIlPD^JVD (23)                                  Eminent Dorriainllnverse                                    Other'Enforcement of Judgment
             Premises Liability (e g.., sljp                         Ccridemnation (.14)
                                                                V11r.ongful.Eviction (33)
                                      )dily injtiry/PDIUVD      Other Real Property (e.g.,.quiet,ti#ie) (26):.    miscelEaneous~.ivii Cotrpplaint
                                      sault,.vandalisrn)           Writ of Possession of.Rea! P:roperty.             RIGO (27)
                                      iliction of                    Mortgage Forecfosure                            Qther Complaint f not specrfied
                                      iI Distress                    QuietTitle                                             above).(42)
                                      iction of                     {3ther Reai Property (not erninenf                      Declaratory Retief'Only
                                      al Distress.                   domain,.lanr?lordltetaant, or                          injtinctive Relief.Oniy (non-
                                                                     foreclosure)                                               haressmerit)
                                                                                                                            flliechanics Lien
    Non-PllPDN1lD-(Other) Tort                               UnlaawrFul Detainer                                            Other Conim.ercia! Compl.a.int
          ~iisiness T,artlUnfa;r Susiness                       Commercial (31)                                                Casc .(nbn-tor~'nori-corrtpleKj
             Practice (07).                                     Residentiai (32)                                            Other Givil Complaint
          Givii Rights:(e.g., discrimination,                    Drugs (38) (if the case involves illegal                       (rrUn7t6rtln0J7-L orn pl e x)
              false arrest) (not civA                               drug.S, ciiec.k this ifetn; othervrise;
             harassment) ({}8)                                      report as Cormnercial or                      Miscetiarieous Civii Petition
          DEfamation;(e.g„ slander,jibel)                           Residential)                                      Partnership and'Corporate.
              ('13)                                                                                                         Go,vernance 1(21)
          Fr2ud ;16)                                         Jud'iciai fieview                                        Other Petition (not_specifred above),
          Intellectuaf Property (19)                            Asset Torfeiture (05)                                    1431.
          Professionai Negligence,(25)                           Petition Re: Arbitration Award (11')                    Ciy+( Harassment
               Legal Malpractice                                tiNrit of Mandate (02)                                      1Norkplace: Vicfence
               Other Professional Maipractice                       Vltrit—Adm i n istrative Ma nd am us                    ElderlDepend'entA'duft
                     (not medical or legal)                          Writ—Mandamus on Limited Court                             Abuse
          Other Non-PIlPD/VdD Tort (35)                                Case SViatter                                        Eiection:Contest
                                                                     Writ—Other Lirnited Court Case.                        Petition for Name G.hange
    Employment                                                          Review                                              Petition. for Reiief from Late
          Wrongful Termination (36)                             Other Judicial Review (39}                                      C:lairn
          ofiher Empioyment (15)                                     Review of Heaith Offioer Order                         dther Civi! Petition
                                                                     Notice of Appeal—Labor
                                                                       Cornmissioner Appea(s.
    GM-010.L.4ev. January 1•,20071.                                                                                                                             2of2
                                                                CiVIL CASE CC3vEFt sHEET




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      Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 10 of 38 Page ID #:18


  sr+ca'-,TLt                                                                                            cP.se rrun~rea
             'ES.COL3ED0 v. DOLLAR TREE STORES, iNC.


                                                   CIVIL CASE COVER SHEET ADDENDUM + N D
                                                             ~~~   i. E    ,~ ; ~ ~ _        ,   a      O.

                (CERTIFICATE OF GROUNDSO r° ASSIGNMENT TO COURTHO USE                                                               O              O

                This form is required pursuant to Local Rufe 2.3 in aIl new cfvil case filings in the Los Angeles Superior Court.



      Step 1: After cornpleting the Civif Case Cover Sheet (Judiciai Council form CM-010), find the exact case type in.
                Column .A that corresponds to tEie case type indicated in the Civil Case Cover Sfieet.

      Step,Z: in Column B, check the box for the type of action that best describes the nature of the case.


      Step 3: tn Coiumn Cj circfe the number ra.Jhich explains the reason for the court filing location you have
                    chosen.
                             I
                                              Applicable Reasons for Choosing Court Fiiing Location. (Column C) ~

i4 ;Ciass actions most be filed in the Staniey Ntosk Gourthouse, Central District.      7. Location where petitioner resides.
2.. Perrnissive fid;ng,in central dis:rict.                                             8, Locatfonvaherein defendanilrespondeht functions whoUy.
3. LDcation where cause of actlon arose.                                                0. Location where one or more of 1he parties reside.
4: Mandatory p2rsonai injury fiti7g in North District:                                 10. Location of Labor Gommissioner Office.
                                                                                       11,_Mandatory.filing loca#ion (Hub Cases — ufilawful detainer; limited
5. Location.where performance required or de#endant resides.                           non-collection, lirnited collection, o~ personal injury).
6. Locatfon of property or permanentiy garaged vehicfe.




                                 Auto (22)           ❑ A7100 Motor Vehicle - Personal lnjurylProperty I7amager,tVrorLaful Deah             1 4,11

                kninsured Motorist (46)              ❑ A7110 Personai InjurylProperty Damage/Wrongful Death — tlninsured Motorist 1, 4, 11

                                                     ❑ 46070 Asbestos Property Damage                                                      1 11
                           Asbesfos (04)                                                                                                       '
                                                     O A7221 Asbestos - Personal InjuryfJvrongful Death

                ~       Product.Liability {24}       ❑ A7260 Product Liability (notasbestos or toxic/environmental)                      ( 1, 4,-11             ~

                                                     ❑ A7210 Medicat Maipractice- Pliysicians & Surgeons                                   1, 4, 11
                     tiAedicai NMa?prac#ice (45)
                                                     Q A7240 Other Professionai Heaith t;are .Maipractice                                  1 4 11

                                                     0 A7250 Premises Liability (e.g., slip and fali)
                          Other Personal                                                                                                   1 4, 1 i
                          tnju ry
                               . Property            ❑ A7230 Intentional Bodily InjurylPropertyDamageNslrongful Geath.{s;g„                 I 41 1
                         Damage VUrongful                     assault, vandaiism; etc.):
                                 peath (23)          p A7270 Intentional Infiiction of t=mofional Distre&s                                 1,4' 11
                                                     ❑ A7220 Other Personal InjurylProperty DamagenNrongful Death                          7 ' 4+ 11




  trAClv 104 (ReY:2116)                             CtVIL CASE C®VER SHEET ,qDDENDUM                                                    Lncal Ruie;'2.3
  LASC Approved 03-04                                    AND STATEMEP,lT C9F LU!CATION                                                   ; Paqe 1 af 4
    Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 11 of 38 Page ID #:19


SIiORT i'rrl.E:                                                                                                                                                                    CASE NJPBBER
                  ESCOBEDO v. C)OLLAR TREE STORES, INC.


                  ... .........            :.::..........: .........            ,. .. .... -               .~ ::.::....::   ..».:,.•.:•• :::,~~:
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                                Business Tort (07)                                  ❑ A6029 Other CommerciailBusiness Tott (n.ot fraudlbreach of contract)                                                                                                1, 2, 3

                                  Civil Rfghts (08)                                 ❑ A6005 Civil Rights'Discrimination                                                                                                                                  1, 2, 3

                                  Defamation (13)                                   ❑       A6010 Defamation (siander/libel)                                                                                                                              1, 2, 3


                                        Fraud (16)                                  ❑       A6013 Fraud (no contravt)                                                                                                                                     1, 2, 3


                                                                                    ❑       A6017 Legal IVlaipractice                                                                                                                                     1, 2, 3
                     Professional Negligence (25)
                                                                                    ❑ A6050 Other Professional Maipractice (not rnedicat or legai)                                                                                                       1, 2, 3

                                        Other (35)                                  ❑       A6025 Other Non-Persona€ lnjury/Properly Damage tort                                                                                                          1, 2,3


                        Wrongful 7erminetion (36)                                   ❑       A6037 Wrongfl;i Terminaticn                                                                                                                                  1, 2, 3.
      ~
      d
      E
      y.                                                                            ❑       A6024 OtherEmpioymentComplaint Case                                                                                                                          1, 2, 3
      0
     n.                    Other Employment (15)
                                                                                    t] A.6109 LaborCominissionerAppea€s                                                                                                                                  10
      E
     t.0
                                                                                    ❑       A6004 Breach of RentailLease Contract (not unlawful detainer of wrongful
                                                                                                                                                                                                                                                         2, 5
                                                                                                  eviction)
                      Breach of isontractl bUarranty
                                  (06)                                              ❑ A6008. Cor:tract!Vdarranty Breach -Seller Piaintiff (no fraud/negtigence)                                                                                          ~' S
                            (nol +nsurance)                                                                                                                                                                                                              1' _2'.,5
                                                                                    ❑ A6019 Negligent Breach of ContractNVarranty (no fiaud)
                                                                                                                                                                                                                                                         1' 2' S
                                                                                    ❑       A6028 Other Breach of ContractfvVarranty (not fraud or negtigence).


                                                                                    ❑       A6002 Collections Case-Seller Plaintiff                                                                                                                       5, 6; 11
                                  Col!ections (09)
                                                                                    ❑       A6012 Other Promissory NotelCallectiens Case                                                                                                                 5, 11
                                                                                    ❑       A6034 Co€iections Case-Purchased Debt (Charged Off Consumer De6t                                                                                             5, fi, 11
                                                                                                   Purchased on or after JanLiary 1, 2014

                         Insurance Coverage (18)                                    D       A6015. ;nsurance Coverage (not complex)                                                                                                                      1,.2, 5, 8


                                                                                    ❑       A6009 Contractual Fraud                                                                                                                                      1, 2, 3, 5

                              Other Contract (37)                                   II      A6031 Tortious interterence                                                                                                                                   9,.2, 3, 5

                                                                                    ❑ A6027 Other Confract Dispute(not breach;insurancelfi'audinegligence)

                          Eminent Domainllnverse                                     D A7300 Eminent DomaintCondemnation                                                                                                                                 2,6
                                                                                                                                                                                         Number.of parcels
                               Condemnation (14)

                           Wrcngful Eviction (33)                                    ❑      A6023 Wrongful Eviction Case                                                                                                                                 2,6


                                                                                    ❑       A6018 Mortgage Foreclosure                                                                                                                                 ' 2,..6

                         ,Other Reaf Properfy (26)                                   ❑      A6032 4uiet Titte                                                                                                                                            2, 6

                                                                                    ❑ A6060 Other Reai Property (not eminent domain, landforditenant, forectosure) ', 2,.6

                    Unlawful Detainer-Commerciat                                     ❑ A6021 Unlawful Detainer-Commercial (not drugs or wrongful oviction)                                                                                               6,11
                                             (31)

                     Un!awFul Detainer-Residential                                   ❑ q6020 Unlawfui DetaEner-Residentiat (not drugs or wrongful eviction)                                                                                            . 6, 11
                                             !32
                               Unlaw(ul Detainer-                                    ❑ A6020F.Un(avrFu€ Detalner-Post-Foreclosure                                                                                                                        2, 6, 11
                            Post-Foreclosure r34

                     Unlawful Detainer-Drugs (38)                                    ❑      A6022 Unlawfu€ Detainer-Drugs                                                                                                                                2, 6, 11




 LACIv:109(Rev2t16)                                                              C1VIL CASE COVER SFiEET ADDENDUM                                                                                                                                  Loca1 Rule2.3
 tASC Approved 03-04                                                                ARlD S1'ATEMENT OF L®CAl'iOiV                                                                                                                                    Page 2 oF 4
    Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 12 of 38 Page ID #:20


SHORT TITLE:
               ESCOBEDO v. DOLLAR TREE STORES, INC.

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                                                                                                            ,'A$F; NU,%qBrR




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                      Asset Forfeiture(05)          11 A6108 Asset Forfeiture Case                                               21 3,6

                    Petition re Arbilratiori (11)   0 ABI 15 Petition to Compet/ConfirmlVa c ate Arbiirafion                     2,5

                                                    11 A6151 Writ - Admiriistrative Mandamus                                     2,8
                      Writ of Mandate(02)           0 A6152 Writ - Maridamus on Limited COLIFt Case Matter                       2
                                                    n A6153 Writ - Other Umited Court Case Review                                2

                   Other Judicial Review (39)       0 A6150 Ofty Wrft fiLidicial Revie-w                                         2,8


               AntitrdsVTrade Regulation (03)       0 A6003 AntitrustiTrade Regulation                                           1,2,8

                    Construction Defect(10)         0 A6007 Construction Defec',                                                 1,2,3

                   Clairns Involving Mass Tort
                                                    0 AC006 Claims Involving tViass I-ort                                        1,2,8
                              (40)

                    Securities Litigation (28)      11 A6035 Securities Lftigation Case                                          1,2,8

                           Toxic Tort
                                                    D A6036 Toxic Tort/Erivironmental                                            1,2,3,8
                       Environmental(30)

                   Insurance Coverage Claims        13 A6014 Insurance Coverage/Subrogation (compldx cate :onty)                 1,
                                                                                                                                  Z'5' 8
                    from Complex Case (41)

                                                    0 A6141 Sister State Judgment                                               2,5, i I
                                                    0 A6160 Abstract of Judgment                                                 2,6.

                          Enforcement               D A6107 Confession of Judgment (rion-domestic relations),                   2,9
                        of Judgment (20)                                                              ,
                                                    D, A6140 Administrative Agency.Award (not. unpaid.taxes)                    2,.8
                                                    0 A6114 PL-Aition/Cerifficate for Entry of Judgment on Unpaid Tax           2,8
                                                    0 A6112 Other Enforcement of J udgment Case                                 2,,8,9

                            RICO (27)               0 A6033 Racketeering (RIC.0) Case                                            1, 2, 8

                                                    0 A6030 Declaratory Relief Only                                             1,
                                                                                                                                 21 8

                        oitiei- Complaints          0 A6040 Injunctive. Relief Only (not domestle4harassment)                   2,8
                   (Not Specified Above) (42)       0 A60I I Other Commercial Corriplaint C -ase (non-tort/non-complex)         1,2,8
                                                    0 A6000 Other Civil Complaint (non-tortlnon-complex)                        1,2, 8
                               ... ..... ....
                    Partnership Corooration
                                                    0 A6113 Pailnership and Corporate Governance Case                           2,8
                        Governance.,1 21)

                                                    El A6121 Givli Harassment                                                   2,3„9
                                                    El A6123. Workplace Harassment
                                                    11 A6124 Elder,DependentAdultAbuse Case                                     2,3,9
                       OthernPefitlons* (Not
                      Specified Above) (43)         0 A6190 Election Coritest

  ~'F                                               0 A61 10 Petition for Change of Name/Change of Gender
                                                    D A6170 Petition for Relief from Late.Claim, Lavi                           Z-Z,-81
                                                    0 A6100 Other Civil Petition                                                2,9




LACIV 109(Rev 2/16)                                 CIVIL.CASE COVER SHEET ADDENDUM                                           Lo
                                                                                                                               ' cai,Rule 23
LASC AppFoved 01-04                                    AND STATEMENT OF'LOCATION                                                Page. 3 of 4
             Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 13 of 38 Page ID #:21


       sHQRr TITLEr                                                                          cASE NuMeER`
                      ESCOSEDO v. DOLLAR TRi;E STORES, 1NG.


      Step 4: 5taternent of Reason and,Address; Che.ck the approp:riate boxes forthe ra.unabers shown under tolurrin C for the
                type of action.that you have selected. Enter the address which is'the ba5is for tt;e fi(ing focation, including iip code.
                (No address required for c€ass action cases.).

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                                                   STATE;   I Zif' CCDE;

            CANOGA PARK                           CA        191304

      Step 5: Certification of Assigrtment: 1 certify thatfihis case is properiy filed in the,_Ceptral                        D'€strict of
               the 5uperior Court of California, County of Los Angeles [Code Civ; Proc:, §392'.et seq., and l:ocal Rule 2.3(a)(1)(E)].




        []ated: May`26, 2019                                                                       :o-
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        PLE .ASE HAVE THE FOL~_OtAi'ING`.lTEtsffS.COMPLETE® AtVD READY TO BE F1LED,Itd.ORDER TO F'ROPERLY
        COMMENGE YOUR NE1N COURT GASE:
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              3. C'ivi#'Gase Cover Sheet: Judiciai Council form C[VI-010.
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              4. Civil_Case C.over Sheet _Addendum and 5tateilient of.Locationform, LACIV 109, LASC Ap0r9v.ed.03-04 (,Rev.
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              5„ Payment in fuil af the filing f.ee, uness there is court orderforwaiver; parkial or schetfu[ed paymzrits.
              8. :A signed order appointing the Guardian ad Litem, Judicial:Counc'il farm CiV--01.Q, if the plaintifP or petitionor is a
                  minor under 18 years of age wil! be required by Court ih order to-issue. a.sumrnons.
              7. Ad.dtianal copies of doc.uments to be conformed by the C(ark CapseS.of the:cover:sheet.and this'addendur[i.
                 must be served along with the summoris and cornplaint, or other ini#iat'ing:p#eaciing jn the.case.




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~~:     LASC~Approved 1 3=04                          AN.® STATEMENT OF L.00ATl9N                                                      PagE 4 of 4
     Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 14 of 38 Page ID #:22

                                                                                                       Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                                 FILED
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                    NOTICE OF CASE ASSIGNMENT                                                ShortiR
                                                                                              By
                           UNLIMITED CIVIL CASE

                                                                                       CASE NUMBER:

  Youi- case is assigned for all purposcs to the jiidicial ofricei- indicated below.   19STCV18326

                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE              DEPT      ROOM        I             ASSIGNED JUDGE                         DEPT             ROOM

   V/       Jon R. Takasugi                  3
        I




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    Given to the Plaintiff/Ci-oss-Complainant/Attornev of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 05128/2019                                                            By DaNang Williams                                          Deputy Clerk
                  (Date)
LACIV 190 (Rev 6/18)          NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
             Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 15 of 38 Page ID #:23

                                          INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

       The following critical provisions of the California Rules of Court, Title 3. Division 7, as applicable in the Superior Court, are summarized
       for your assistance.

.#:
       APPLICATION
st     The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

       PRIORITY OVER OTHER RTULES
       The Division 7 Rules shall have priority over all otlier Local Rules to the extent the others are inconsistent.

       CHALLENGE TO ASSIGNED JUDGE
       A chal.lenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
       to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

       TIME STANDARDS
       Cases assigned to the Independent Calendaring Courts will be subject to processing under the following tiine standards:

       COMPLAINTS
       All complaints shall be served within 60 days of filing and proof of service shall be filed with.in 90 days.

       CROSS-COMPLAINTS
       Without leave of court first being obtained, no cross-coniplaint may be filed by any party after their answer is filed. Cross-
       comp(aints shall be served within 30 days of the filing da1:e and a proof of service filed within 60 days of the filing date.

       STATUSCONFERENCE
       A st:atus conference will be scheduled by tfie assigned Independent Calendar Judge no later than 270 days after the filing of the
       complaint. Counsel must be fully prepared to discuss the following issues: altet-native dispute resolution, bifurcation, settlemcnt,
       trial date, and expert witnesses.

       FINAL STATUS CONFERENCE
~y     The Court will require the parties to attend a fina( status conference not more than 10 days before the scheduled trial date. All
       parties shall have motions in limine: bifurcation motions, statements of major evidentiary issues, dispositive niotions, requested
       form. jury. instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
       matters may be heard and resolved at.this conference. At least five days before this conference, counsel must also have exchanged
       lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
       by Chapter Three of the Los Angeles Superior Court: Rules.

       SANCTIONS
       The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
       Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Sucli sanctions may be on a party,
       or if appropriate, on counsel for a party.

       This is not a coniplete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
       therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
       compliance with the actual Chapter Rules is imperative.

       Class Actions
       Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Moslc Courthouse and are randomly assigned to a coniplex
       judge at the designated complex courthouse. If the case is found not to be a class action it will be retutned to an Independent
       Catendar Courtroom for all purposes.

       *Provisionally Complex Cases
       Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
       comptex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
kt     randomlv assigned to a complex judge at the designated coniplex courthouse. If the case is found not to be complex, it will be
~ar"   returned to an IndeFendent Calerndar Courtroom for allPur P-••
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       LACIV 190 (Rev 6/18)         NOT6CE ®F CASE ASSIGIVMENT — 11NLIMeTE® C6191L CASE
       LASC Approved 05/06
       Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 16 of 38 Page ID #:24
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                                                                                      Superior Court of Caliltrnla
       1                                                                                 County of Los Ang¢9es

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                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
       6
                                           FOR THE COUNTY OF LOS ANGELES
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       8    IAI RE LOS ArtGELES SUPERIOR COURT ) FIRST AlVIENDE® GENERAL. ORDER
            — MANI)ATORY ELECTRONIC FILING )
       9    FOR C1VIL                         )
                                              }
      10                                      )
                                              }
      11

      12'          On Becember 3, 2018, the Los Angeles County Superior CQurt maaldated electronic filing of ail

      13    documents in Limited Civil cases by litigants represented by attomeys. On January 2, 2019, the Los

      14    Angeles County Superior Court rnandated electronic filing of all documents filed in Alon-Cornplex
      15    Unlimited Civil cases by Litigants represented by attorueys. (California Rules of Court, rule 2.253(b).)

      16    All electronically filed docuanents in Limited and Non-Complex Unlirnited cases are stlbject to the

      17    following:
      18    1) I3EFIN1TIONS

      19       a) "Eookraaarlt" A bookmark is a PI)F document navigational tool that allows the reader to
      20           quickly locate and navigate to a designated point of interest within a docurnent.

      21       b) 'Triling Portat" The official court website includes a webpage, referred to as the efiling

      22           portal, that gflves litigants access ta the approved Electronic Filing Service Providers.

      23       c) 6EHectronic Eravelolse" A transaction through the electronic service provider for subinission
      24           of documents to the Court for processing which may contain one or ariore POF doctlrnents
      25           attached.
      26       d) "]Electrortic IF'iling" Electronic Filing (eFiling) is the electronic traeisi-nission to a Court of a
      27           document in electronic fonat. (California Rules of Court, rule 2.250(b)(7).)
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,,.                            E7RS i' AMEhfDED GENEitAL ORDER RE MAN®ATORY IELECTROIViC FILIriiG FOR CIY1L
     Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 17 of 38 Page ID #:25
                                                                                                  2019-GEN-014-00



 I       e) 'Electronic Ffling Service Provider" An Electronic Filing Service Provider (EFSP) is a
 2           person or entity that receives an electronic filing from a party for retransniission to the Court.
 3           In the subrnission of filings, the EFSP does so on behalf of the electronic filer and not as an
 4           agent of the Court. (Califomia Rules of Court, rule 2.250(b)(8).)
 5       f) ITAectronic Sigiiature" For purposes of these local rules and in conformity with Code of
 6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 10 10.6, subdivision
 7           (b)(2), Govemment Code section 68150, subdivision (g), and Califomia Rules of Court, rule
 8           2.257, the term "Electronic Signature" is genemlly defined as an electronic sound, symbol, or
 9           process attached to or logically associated with an electronic record and executed or adopted
1(l          by a person with the intent to sign the electronic record.
II        g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12           in a hypertext or hypermedia document to another in the same or different document.
13        h) "Portable Document Format?' A digital document forinat that pmserves all fonts,
14           formatting, colors and graphics of the original source document, regardless of the application
15           platform used.
16 2) MANDATORY ELECTRONIC FUNG
17        a) Trial Court Records
18           Pursuant to Govemment Code section 68150, trial court records may be created, maintained,
19           and preserved in electronic format. Any document that the Court rweives electronically must
20           be clerically processed and must satisfy all legal filing requirements in order to be fded as an
21           official court record (Califomia Rules of Court, rules 2. 100, et seq. and 2.253(b)(6)).
22        b) Represented Litigants
23           Pursuant to Califomia Rules of Court, mle 2,253(b), represented litigants are required to
24           alectronicaUy file documents with the Court through an approved EFSP.
25        c) Public Notice
26           The Court has issued a Public Notice with effective dates the Court required parties to
27           electronically file documents through one or more approved EFSPs. Public Notices containing
28           effective dates and the list of EFSPs are available on the Court's website, at www.laccurt.org

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECMONIC FILING FOR CIVIL
    Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 18 of 38 Page ID #:26
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          d) Documetats in Related Caes
2            Uocuanents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been iunpletnented in that case type, regardless of whether the case has
4            been related to a Civil case.
5 1 3) F..XBMPT LTTIGANTs
 s        a) I'ursuant to Ca.lifornia Rules of Court, rule 2.253(b)(2), self-represented litigants are exeanpt
7            from crlandatory electronic hling requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party rnay malce apptication to the Court requesting to be excused
10            from filing documents electronically and be pergnitted to ftie documer►ts by conventional
I1            means if the party shaws undue hardship or significant prejudice.
12    4) EXEIMPT FYLINCS
13        a) i he following documents shalI not be filed electronically:
14            i)   P'eremptory Challenges or Challenges for Cause of a Iudicial Offcer pursuant to Code of
15                 Civil l'rocedure sections 170.6 or 170.3;
16            ii) Bonds/Undertaking documents;
17            iii) 'Frial and Evidentiary Hearing Exhibits
18            iv) Any ex parte application that is filed concurrently with a new complaint inciuding those
19                 that will be handled fay a Writs and Receivers department in the IViosk courthouse; and
20            v)   E3o-cusnents submitted conditionally tatider seal. T'he actual trlotican or app[ication sizall be
21                 electronically filed. A courtesy copy of the elect.ronically filed motion or application to
22                 submit documents conditionatly under seal must be provided with the documents
23                 subrnitted conditionally under seal.
24        b) Lodgments
25            Documents attached to a I1lotice of LodgmQnt shall be iodged arzrl/or served conventionally in
26    paper form. 'I'he actual docurnent entitled, "Notice of Lodgment," shall be filed electronically.
27 !/
28 ! //
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  Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 19 of 38 Page ID #:27
  Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 20 of 38 Page ID #:28
                                                                                                    2019-GEN-014-00




 1        h) Writs and Abstracts
 2           Writs and Abstracts must be submitied as a separate electronic envelope.
 3        i) Sea.led Documents
 4           If and when a judicial officer orders docunlents to be filed under seal, those clocuments rnust be
 5           filed eiectronicaily (unless exempted under paragraph 4); the burden of accuratefly designating
 6           tlie dccurnents as sealed at the time of electronic subinission is the submitting party's
 ?           responsibility.
 8        j) I;edaction
 9           Pursuant to California ltules of Court, rule 1.201, it is the submitting party's responsibility to
10           redact confidential information (such as using initials for naanes of minors, using the last four
11           digits of a social security number, and using the year for date of birth) so that the information
12           shall not be publicly displayed.
13 17) ELECTR(3NIC PE[.INC 3CHEDL1LE
14        a) Filed Date
15           i) Any docureient receivcd electronically by the cou-Y-t between 12:00 arn and 11:59:59 pm
lb               shall be deemed to have been effectively filed on that court day if accepted for Filing. Any
ly               document received electronically on a non-court day, is cleerned to have been ef'$e,ctirrely
18               filed on the next court day if accepted. (California Rules of Court, rute 2.253(b)(6); Code
19               Civ. Proc. § 1010.5(b)(3).)
20           ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21               coarse ber:ause of: (1) an interruption in service; (2) a transmission error that is not the
22               1'ault of the transmitter; or (3) a processing failure that occurs after receipt, the Court rnay
23               ogder, eitFier on its own Ynotion or by rdoticed motion subrititted vvith a declaration for Court
24               considerat3on, that the docurnent be deemed ffled and/or that the document's filing date
25               conform to the attempted transmission date.
26 18) EX PARTE APPLICATIt3NS
2'7       a) Ex parte applications and all documents in support thereof rnust be electronically filed no later
28           than 10:00 a.m. the court day begorl the ex parte hearing.

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                          FIRST AMEAIDED GENERAL oRDER RE MANDA'rORY ELECT12oNIC FiLIIdG FOR CIVIL
 Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 21 of 38 Page ID #:29

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 1     b) Any written opposition to an ex parte application rnust be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A prirtted courtesy copy of any opposition to an ex parte
3         appiication must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COiJRTESY COF'IES
 5     a) Eor any filing electronically filed two or fewer days before the hearing, a courtesy capy gnust
6         be delivered to the courtroom by 4:30 p.m. the sarrte business day the docutrzent is efiled. If
 7         the efiling is submitted after 4:30 p.tn., the courtesy copy anust be dclavered to the courtroom
 8        by 10:410 a.rn. the next business day.

 g     b) Regardless of the time of electronic filing, a printed courtesy copy (aiong with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed docurnent required pursuant to a Standing or General Order;
12        ii)   Pleadings and nlocions (including attachments such as declarations and exhibits) of 26
13              pages or inore;
14       iii)   Pleadings and mtions tbat i►aclude points and authorities;
15        iv)   Demurrers;
16        v}    Anti-SLt1PP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)   rViotiot-is for Sucxmary JudgmentlAdjudication; and
18       vii)   1Nlot1ons to Compel Eurthcr Discovery.
19     c) lalothing in this Cseneral Order precludes a Judicial Officer froriz req_uesting a courtesy copy of
20        additiutaal docurr~ents. Courtroom specific courtesy copy guidelines can be found at
21        www, lact3urt.orR on the Civil webpage under "Courtroom dnforrnation."
22   0) VtrAIVER OF EEES AAID COSTS FOR ELECTRONICALLY ELLBD DOCUWMiq7'S
23     a) Eees and costs associated with electronic filing must be waived for any iitigaast who has
24        received a fee waiver. (California lZules of Court, rules 2.253(b)(), 2.258(b), Code Ca v.1'roc. g
25         1010.6(d)(2).)

26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), tnay be
28        electronically f41ed in any authorizeed action or proceeding.

                                                         6
                     FIRS'I' AAJdENDED GENERAL ORDER RE MANDATORY ELECTRONHC FdLING FOR CIVIL
    Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 22 of 38 Page ID #:30
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1 11) SICsNATURES ON EI.ECTRONIC FII.III1G

2        For purposes of this Cieneral Order, all electronic Flings must be in cornpliance with California

3'y      I2ules of Couit, rule 2.257. This General Order mpplies to documents filed within the Civil
4 ~      Division of the Los Angeles County Superior Court.
5

6            Ti his Frst Amended General Order superscdes any previous order related to electronic 1'iling,

7     and is effective immediately, and is ta rerrdain in effect until otherwise ordered by the Civil

S~ Supervising Judge and/or Presiding Juclge.

E
10 I DATBD: May 3, 2019                                     / r
                                                              j~'            c
                                                            KEVIloT C. BRAZILB
11                                                          1?residing Judge
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                         FiRST AMENDED GENERAL ORDER RE Iv1ANDA3'ORY E9.EC'Y'RONIC FlLING FOR CIVIL
Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 23 of 38 Page ID #:31




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   24 of Court           and g&ae RAs Angeles tC®unfly Coutt Resles ("Larat Ru4cs'l, tlse Us
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   26 'ME AUC'a= 10, 2017 SEVENTII AMENDED G '~ERAL CRD1:RANDo GENERALLYs
   27 Q9RDEltS AS )FOLLOWS flN THDS AND A1LL O1'HER GENERAg, .I}UgUSDEC'R'ItDN
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  1a                      dcfam3tioss, civil oigWs d°¢sctimination, or malpractice {othcr Ulcara
  12            mediral malpracticc}, is not inclerlcd in lhas dcfWttiun. An sction Par itajttry to
  13            eeal prapedy is nlot incl$aded in this definitian: ` (1.stad Rule 2.3(g.X
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  14            Comistunt vvith Iocal Raale 2.3(a)(1)(A), thc Cnurt wilt rusign a case tn thc i'➢ Cnaerts if
  15    piBiattifqs) check any af the fnllnwiatg boxes in &he Civil Case Cover Sheet Addendum:
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  26            ',4he Csttz tvall stot assip csses to Bfae PI Cnurts if plaiatdfqs) cherk any boues e8scwhcm
  27    in Bhe Civil Casc CoveP Sheet Addendum (any 1o7es oaa p ages ttv o and thrcd nEtlzat iorrn).
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Case 2:19-cv-05594-MRW Document 1-1 Filed 06/27/19 Page 25 of 38 Page ID #:33




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    2       Z3.4.5, or'i} at ihc Speing Street Cnurtlaouse, 312 Pd®rth Spring itreet, Lgs Angeles, CA 9001 2.
    3(C.R.C. 11u8e$ 3.7 t4(b)(3), 3.723.)
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  14        3.       Plsititi#f(s) sfiall servc llte suQru:~cns nnd caraaplaitat iet this scti®n upun del'eridant(s) as
  15 soen as possib➢e but no luter theaa t                     fram thi.- dale vrfiten the consplaint is filed.
  16 (C.C.P. § 583.210, subd.(a).) Oss 3$Se t3sC m k3isnoissA1 datc: saotesl $bove, tlte Pl Cmtare wi31
  17        dismiss the gction uatd3or all unserverl par$ieg unless tke pl®isitifqs) sltow mse whg+ tha actiora
  I t3 or the unservod poties shr,utd nat be dismissed. (C.C.P. ff $53.250; 561, subd. 0)(4).)
  19        4.      The Couft sets the above trial snd IFSC dates on condi8ion tW plainti€f(s) effectuate
  20        servjse on a3t fetadant(s) ®f the eumrs+ons ausd roneplaiait withita sirs raoeaths of filing the comphu~nz..
  21 5.             °Yhe PI Coa,rt will dismiss the cm witlioa+t prejttdice pursuant do C.C.P. § 531 when no
  22        PW.y appeaes i'gr triel.
  23    11 STIPULATIONS         Tt) COar9TdIJUIETRIA1i,
  24        6.      ProvetlW that all pat$i= agree (snd there is no violati€sn ofthe "five-yesrrule," C.C.P.
  25 Il § 633.310), tlrae partaes muy advance or aontinue any trigl date in :he Pl Coua•is withvut shmwin;g
  26 I g®vd csuse or aatieetlating any mrsson nrisstihcation for tlu± chtsnge. '1'o sontinue or ndvance a
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    6    Court ciays bci'eee the propased udvanctd P'SC diate. (C.C.P. §5IS.2; Govi. Code § 70517, subd.
    7    (e)(2).) tn sctrcging kn¢w tdai dar, pas6aes shwigl+i n-o:d settiag asa any Morrdny, or ¢he Tuc~day
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  22     Sttuiley Mask Cotfrthouse, vig LI.S. maii or vaa e-f}ePiveay, the pastis:s must deliver, directly to
  23     the PI Courk eourorceonis at gae SprBng Sireeet Conrtbouse, an e4atrn copy (mw`:.ott `°C&aamisers
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        7.   RE.SERVA`I'IC)P7 HE, AMtI; ID,4.TE
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      10     11.        C'.aIiforaim WaYes oE'C,burt, Rule 3.I30A(i.i) rrxfnirns n mot.i.~,g party to saot"sfy :he easat
      11.    immed'sateiy ai'n mattar wiYl eaot he hr.xad on the schodtaied date. pn i:ecp'anp, WM %)at sule, tite P6
      12     CouOs urge parties v.rbo amend pleadiugs 'ssi mpom to dfmurrius tu fiIe amen€Yed pleadlngs
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      14     ptepare tentative rulings on d-stnurrers.
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    7    Cum to lndepestdeat CaBendar Cours" (forrn LACtV 23$, nvmiBnbEL on the Court's website nndtz
    6    the Pt Cafuds ls`rtic). 'Tl3e PB Criurts cvilS tramt'er ra matter eo ara ilC Cvsrt if the me is etot a
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  15     A123►ough tlte parties anny stognaiate to trmfer a ca5e to an lndgpendent Catendar DcpartrneYtt, le
  17     F'i Coucts wilt ana4ca. an indep€stdtraio detecmisant•ion rxrlteet3ter tca trumi'er 8ho aasc ot- not.
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  20     ®rder Re l✓anaj Status Ccsnfeeence,,, urhich shali ie scrved with the summons and cotapininL
  21     JYIRY FEES
  22     21.     Parties enus9 poy jur7r f'ees no later thata 365 calendar days after the fiypng ofthu initinl
  23     eoetaislniae. QC. C. P. §63 S, subcis. (b) arid (e).)                                                        ;
  24     Jt,tR'P °I'PJALS                                                                                             ~
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          Cowt HEREZY AMENDS ARIt3 S4iPERSE®ES 0 eS JANUARY 2, 2018
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          JURM6C'fIP3N PER5ONA1l. INJURY AC'Q'1ONS:


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     22          i he purpose of 4t►a FSC is to vedfy Ihat the partieslbDunset are mmplaleSy teady to
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          date. The parties and thelr attorneys meet with a judge or settlement officer who does not maise a aeclsion but
          assists the parties in evaivating the strengths and bveaknesses of the case and in negotiating a settiement.
          For information about the Court's NiSC programs for civii cases, visit: wawv.facourt.ara/d'ivision/civel/se~lsrs~er:t




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